 Case 2:16-cv-00405-RWS Document 14 Filed 09/15/16 Page 1 of 2 PageID #: 60


                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00385-RWS
                                    §
      vs.                           §                LEAD CASE
                                    §
AT&T SERVICES, INC.                 §
                                    §
      Defendant.                    §
___________________________________ §
ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00405-RWS
                                    §
      vs.                           §                CONSOLIDATED CASE
                                    §
SONY COMPUTER ENTERTAINMENT §
AMERICA LLC.                        §
                                    §
      Defendant.                    §
__________________________________ §

                 ORDER ON JOINT MOTION TO DISMISS

       The joint motion of Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff”),

and Defendant Sony Computer Entertainment America LLC, now named Sony Interactive

Entertainment America LLC (“Defendant”) (collectively, the “Parties”), pursuant to Fed. R. Civ.

P. 41(a)(2), for an order dismissing Plaintiff’s claims in this action against Defendant with

prejudice, and dismissing Defendant’s counterclaims without prejudice (Docket No. 46) is

GRANTED. Plaintiff’s claims against Defendant are hereby DISMISSED WITH

PREJUDICE, and Defendant’s counterclaims against Plaintiff are hereby DISMISSED

WITHOUT PREJUDICE. Each party will bear its own costs and attorneys’ fees.

       IT IS SO ORDERED.
Case 2:16-cv-00405-RWS Document 14 Filed 09/15/16 Page 2 of 2 PageID #: 61



   SIGNED this 15th day of September, 2016.



                                                 ____________________________________
                                                 ROBERT W. SCHROEDER III
                                                 UNITED STATES DISTRICT JUDGE




                                   Page 2 of 2
